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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-43

vs.
                                              MEMORANDUM AND ORDER
FRANCISCO JAVIER AVILA-
NUNEZ,

                  Defendant.

       This matter is before the Court on the Magistrate Judge's Findings and
Recommendation on Plea of Guilty (filing 539) recommending that the Court
accept the defendant's plea of guilty. There are no objections to the findings
and recommendation. Pursuant to 28 U.S.C. § 636(b)(1)(C) and NECrimR
11.2(d), the Court has conducted a de novo review of the record and adopts
the findings and recommendation of the Magistrate Judge.

      IT IS ORDERED:

      1.    The Magistrate Judge's Findings and Recommendation on Plea of
            Guilty are adopted.
      2.    The defendant is found guilty. The plea is accepted. The Court
            finds that the plea of guilty is knowing, intelligent, and
            voluntary, and that a factual basis exists for the plea.
      3.    The Court defers acceptance of any plea agreement until the time
            of sentencing, pursuant to Fed. R. Crim. P. 11(c)(3). Unless
            otherwise stated at the time of sentencing, any plea agreement
            will be deemed accepted upon the pronouncement of the
            judgment and sentence.
      4.    This case shall proceed to sentencing.

      Dated this 1st day of April, 2015.

                                           BY THE COURT:


                                           John M. Gerrard
                                           United States District Judge
